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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

STEPHEN PENROSE, et al.,                     )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           )        Case No. 4:17CV00294 HEA
                                             )
BUFFALO TRACE                                )
DISTILLERY, INC, et al.,                     )
                                             )
                                             )
       Defendants,                           )

                                            ORDER

       IT IS HEREBY ORDERED that the scheduling conference pursuant to Fed.R.Civ.P. 16

set for February 27, 2018, is vacated. The Case Management Order will be issued based on the

dates provided by the parties in their Joint Proposed Scheduling Plan.

       Dated this 23rd day of February, 2018.




                                                     HENRY EDWARD AUTREY
                                                   UNITED STATES DISTRICT JUDGE




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